  Case 2:15-cv-05346-CJC-E Document 469-26 Filed 12/10/20 Page 1 of 18 Page ID
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                          #:33061




                    Exhibit 1-**
          Evidence Packet in Support of Defendant’s Motions for Summary Judgment


           U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                    Exhibit 1GG
                                                       White Decl. ISO Disney's SJ Motion P.0654
   Case 2:15-cv-05346-CJC-E Document 469-26 Filed 12/10/20 Page 2 of 18 Page ID
REDACTED VERSION OF DOCUMENT   PROPOSED
                           #:31352
                           #:33062
                         November         TO BE FILED UNDER SEAL1
                                   14, 2019

   1                   UNITED STATES DISTRICT COURT

   2                CENTRAL DISTRICT OF CALIFORNIA

   3                            ---OOO---

   4

   5   T.P., by and through S.P.,  )
       as next friend, parent,     )
   6   and natural guardian, et    )
       al.,                        )
   7                               )
                       Plaintiffs, )
   8                               )
                   vs.             ) CASE NO.
   9                               ) 2:15-cv-05346-R-E
                                   )
  10   Walt Disney Parks and       )
       Resorts U.S., Inc.          )
  11                               )
                        Defendant. )
  12   ____________________________)

  13

  14

  15
                    VIDEOTAPED DEPOSITION PROCEEDINGS OF
  16

  17
                         Thursday, November 14, 2019
  18

  19

  20                  415 Mission Street, Suite 5600

  21                    San Francisco, California

  22

  23

  24

  25   REPORTED BY:     ANGIE DINER, RMR, CRR, CSR NO.9581


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0655
                                    (877) 479-2484
   Case 2:15-cv-05346-CJC-E Document 469-26 Filed 12/10/20 Page 3 of 18 Page ID
REDACTED VERSION OF DOCUMENT   PROPOSED
                           #:31353
                           #:33063
                         November         TO BE FILED UNDER SEAL2
                                   14, 2019

   1   A P P E A R A N C E S:

   2

   3   FOR Defendant:

   4    MCDERMOTT, WILL & EMERY
        BY: KERRY ALAN SCANLON, ESQ
   5         JULIE MCCONNELL, ESQ.
        500 North Capitol Street, NW
   6    Washington, D.C. 20001
        202-756-8000
   7    Kscanlon@mwe.com
        Jmcconnell@mwe.com
   8

   9

  10   FOR Plaintiffs:

  11    ARIAS SANGUINETTI WANG & TORRIJOS, LLP
        BY: Eugene Feldman, ESQ.
  12    6701 Center Drive West, Suite 1400
        Los Angeles, California 90045
  13    310-844-9696
        Eugene@aswtlawyers.com
  14

  15

  16

  17   ALSO PRESENT:

  18           Michael Santy, videographer

  19           Victor Martinez, interpreter

  20           Ricardo Claps

  21

  22

  23

  24

  25


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0656
                                    (877) 479-2484
   Case 2:15-cv-05346-CJC-E Document 469-26 Filed 12/10/20 Page 4 of 18 Page ID
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                           #:31354
                           #:33064
                         November         TO BE FILED UNDER SEAL3
                                   14, 2019

   1           BE IT REMEMBERED that on Thursday,

   2   November 14, 2019, commencing at the hour of 9:23

   3   a.m. at the Law Offices of McDermott Will & Emery,

   4   415 Mission Street, Suite 5600, San Francisco,

   5   California, before me ANGIE DINER, a Certified

   6   Shorthand Reporter in and for the State of

   7   California.

   8                           ---OOO---

   9           THE VIDEOGRAPHER:     Good morning.       We're on

  10   the record at 9:23 a.m. on November the 14th, 2019.

  11   Audio and video recording will continue to take

  12   place until all parties agree to go off the record.

  13   Please note that microphones are sensitive and may

  14   pick up whispering and private conversations.              This

  15   is the video-recorded deposition of

  16   taken by the counsel for the defendant in the matter

  17   of T.P. by and through S.P. as next friend, parent,

  18   and natural guardian, et al, versus Walt Disney

  19   Parks and Resorts U.S. Incorporated, filed in the

  20   U.S. District Court, Central District of California.

  21   This deposition is being held at McDermott Will &

  22   Emery located at 415 Mission Street, Suite 5600,

  23   San Francisco, California.

  24           My name is Michael Santy.        I'm the

  25   videographer on behalf of U.S. Legal Support,


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0657
                                    (877) 479-2484
   Case 2:15-cv-05346-CJC-E Document 469-26 Filed 12/10/20 Page 5 of 18 Page ID
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                           #:31355
                           #:33065
                         November         TO BE FILED UNDER SEAL4
                                   14, 2019

   1   located at 201 Mission Street, Suite 600,

   2   San Francisco, California.      The court reporter is

   3   Angie Diner on behalf of U.S. Legal Support.             I am

   4   not related to any party in this action, nor am I

   5   financially interested in the outcome.

   6           Counsel will state their appearances for the

   7   record, after which the court reporter will swear in

   8   the witness.

   9           MR. FELDMAN:    Eugene Feldman for the

  10   plaintiff.

  11           MR. SCANLON:    Kerry Scanlon for the

  12   defendant, and with me are Julie McConnell from my

  13   office and a representative of our firm, Ricardo

  14   Claps, for purposes of interpretation here today.

  15                          VICTOR MARTINEZ,

  16   Official court interpreter for the witness,

  17   translated from the English language into Spanish,

  18   and from Spanish into English, as follows:

  19           THE INTERPRETER:     Yes.

  20

  21   called as a witness herein, who, having been duly

  22   sworn, was thereupon examined and interrogated as

  23   hereinafter set forth.

  24           THE WITNESS:    Yes.

  25   ///


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0658
                                    (877) 479-2484
   Case 2:15-cv-05346-CJC-E Document 469-26 Filed 12/10/20 Page 6 of 18 Page ID
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                                   14, 2019                    15

   1   and he doesn't know how to speak with people.              And

   2   when he spends an hour of time in line, he starts

   3   yelling, and -- and -- and people give us bad looks.

   4   Well, we had to leave the line, and he kept crying

   5   and screaming.

   6    Q.     Is it your testimony, Mr.               , that you

   7   waited in a line for more than an hour with your

   8   son?

   9    A.     Yes.

  10    Q.     And how many times did you do that during

  11   this two- or three-day visit?

  12    A.     About five times.

  13    Q.     And this was in the regular line that

  14   everyone else was lined up in?

  15    A.     Yes.

  16    Q.     Okay.   And you waited in this line for more

  17   than an hour at least five times?         Is that your

  18   testimony?

  19    A.     Yes.

  20    Q.     Do you remember the names of any of the rides

  21   that you're referring to?

  22    A.     No, but there was one he really liked, which

  23   was something like a submarine, something out of

  24   Nemo or something like that.       Yes.

  25    Q.     Finding Nemo?


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0659
                                    (877) 479-2484
   Case 2:15-cv-05346-CJC-E Document 469-26 Filed 12/10/20 Page 7 of 18 Page ID
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                           #:31357
                           #:33067
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                                   14, 2019                    16

   1    A.      Yeah, yes.

   2    Q.      Okay.     And -- and -- and your testimony is

   3   that you waited in line for more than an hour for

   4   that ride?

   5    A.      Yes.

   6    Q.      Do you remember if that was the first day of

   7   the visit or the second day of the visit?

   8    A.      The first day.

   9    Q.      Was it the very first ride you went to?

  10    A.      No.     It was a different one, but I can't

  11   remember the name of it.

  12    Q.      So this was not the first ride you went to?

  13    A.      No.     No, we had gone to a different one

  14   first.

  15    Q.      Was it the second ride you went to?

  16    A.      It was the second one, more or less.

  17    Q.      Okay.    And how long did you wait in line in

  18   the first ride?

  19    A.      Almost an hour.

  20    Q.      Do you remember the name of that ride?

  21    A.      No, but it’s like some elephants just -- that

  22   just go around like this and that's it.

  23    Q.      And that was the -- that was the first ride

  24   on the first day, right?

  25    A.      Yes.


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
                                              White Decl. ISO Disney's SJ Motion P.0660
                                     (877) 479-2484
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                                   14, 2019                    29

   1   the Winnie the Pooh ride?      Did you go to Winnie the

   2   Pooh or did you stop and eat first?          What did you do

   3   next?

   4    A.     No, we went straight there.

   5    Q.     Did you eat lunch before you came to the park

   6   that day?

   7    A.     Yes.

   8    Q.     At the hotel?

   9    A.     Yes.

  10    Q.     Okay.   And did you stand in the regular line

  11   at Winnie the Pooh, or was there a line?

  12    A.     The normal line for everybody.

  13    Q.     How long was the wait there?

  14    A.     About 30 minutes.

  15    Q.     And was it just the four of you in your group

  16   or were there other people from your group that went

  17   to Winnie the Pooh?

  18    A.     No, just us four.

  19    Q.     Okay.   And do you remember what you did next

  20   after going on that ride?

  21    A.     We went to one that's -- we went to one

  22   that's next to it, which looks like a trunk.             I

  23   think it’s a water ride.

  24    Q.     It looks like a trunk, like a tree trunk?

  25    A.     Yes.


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0661
                                    (877) 479-2484
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   1    A.      His mom -- his mom did.

   2    Q.      On her -- on her cell phone?

   3    A.      Yes, I believe so.

   4    Q.      Did he have a smile on his face?

   5    A.      Of course.

   6    Q.      What about your daughter?       How old was she at

   7   the time?

   8    A.      She was about three years old, more or less.

   9   Three or four.

  10    Q.      Daughter was three or four?

  11    A.      Yes.

  12    Q.      And was she enjoying the rides?

  13    A.      No, hardly.

  14    Q.      No?

  15    A.      She doesn't really like them.

  16    Q.      What about your wife?     Was she enjoying the

  17   rides?

  18    A.      Some.

  19    Q.      I'm sorry.    I -- I called her your wife.          But

  20   Ms.         .

  21    A.      Uh-huh, that's fine.

  22    Q.      Did -- did she enjoy the rides?

  23    A.      Some of them she did.

  24    Q.      What about you?

  25    A.      I like the big ones at the end.


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0662
                                    (877) 479-2484
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   1    A.      Mine.

   2    Q.      Just yours?

   3    A.      Yeah.    Some -- some children of her siblings

   4   that are -- came with because they wanted to go on

   5   the same ride.

   6    Q.      There were other kids there besides your son,

   7   right?

   8    A.      Of course.

   9    Q.      Right.    And they had preferences of where

  10   they wanted to go, right?

  11    A.      Yeah, because they're allegedly normal.

  12   Because my son can't decide on his own which one he

  13   wants to go on or not.      He just says he likes a

  14   certain one, but then when he comes to getting on,

  15   he won't go on it.

  16    Q.      Okay.    So he didn't really know which ones he

  17   wanted to go on, right?

  18    A.      No, he didn't, because he had never been

  19   there.

  20    Q.      Okay.    And sometimes you said he would -- he

  21   would think he wanted to go on a ride, but then when

  22   he got there, he didn't want to go on it?

  23    A.      Yeah.    He did it twice.

  24    Q.      Twice that he thought he wanted to go on a

  25   ride and then didn't go on it?


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0663
                                    (877) 479-2484
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                                   14, 2019                    42

   1    A.    Yes.

   2    Q.    Okay.    And when you went looking for this

   3   Cars ride, did you find it?

   4    A.    Yes, on the map, in the map.

   5    Q.    Was it dark at this point?

   6    A.    No.

   7    Q.    So it’s 6:30 or 7 o'clock in November and it

   8   wasn't dark?

   9    A.    There was just a little bit of light out.

  10    Q.    Okay.    Okay.   And did you find the Cars ride?

  11    A.    Yes.

  12    Q.    How many people with the different

  13   kids and -- were you there or was your -- was

  14   Ms.          there?

  15    A.    Yes.

  16    Q.    And did you wait in line there?

  17    A.    Yes.

  18    Q.    In the regular line?

  19    A.    Yes.

  20    Q.    And how long was that wait?

  21    A.    Oh, that was also about 40 minutes.

  22    Q.    And tell me the names of everybody that you

  23   can remember who was -- who waited in that line, the

  24   names of the kids, the adults.        Who was together

  25   waiting in that line?


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0664
                                    (877) 479-2484
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                           #:33072
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   1    A.     Okay.     Oscar was there, and he's Tita's son.

   2   He was about six or seven years old during that time

   3   as well.

   4           Johnny is Tita's husband, and he's the

   5   brother of            .

   6    Q.     Okay.

   7    A.     Samantha is the             's sister-in-law as

   8   well, and she -- and she had her daughter with her,

   9   but I can't remember her name.

  10           And there's one other person.         Oh, Abel.

  11   Abel and Jasmine, and they're my friends.            They were

  12   not adults at the time.

  13   Q.      How old were they?

  14   A.      14 -- 13 or 14.

  15   Q.      And they were kids of a friend of yours?

  16   A.      Yes, of course.

  17   Q.      But their parents weren't on the trip, right?

  18   A.      No.     No, they did not.

  19   Q.      So who was watching over them?

  20   A.      I was.

  21   Q.      Okay.    Did you go on the rides, the Cars

  22   ride?

  23   A.      Yes.

  24   Q.      Did your son,          , go on?

  25   A.      Yes.


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0665
                                    (877) 479-2484
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   1    A.    No, because we didn't have the papers.

   2    Q.    Okay.    And after this ride -- and then you

   3   went to look for a spot to watch the parade, right?

   4    A.    Yes.

   5    Q.    And did you all kind of sit on the ground or

   6   the curb next to the -- where the road was?

   7    A.    Yes.

   8    Q.    Okay.    And how long did you wait there until

   9   the parade came by?

  10    A.    About an hour, I think.

  11    Q.    And all of you were there waiting?

  12    A.    Yes.

  13    Q.    And then did the parade come by?

  14    A.    Yes.

  15    Q.    Was it a Christmas theme or some other kind

  16   of theme?

  17    A.    Yeah, it was Christmas.

  18    Q.    Okay.    And so after you got done watching the

  19   parade, it must have been at least 8 o'clock or

  20   something by that point, right?

  21    A.    Yes, more or less.

  22    Q.    More or less 8 o'clock?

  23    A.    Around 8 o'clock.

  24    Q.    And had you eaten anything before you left

  25   the hotel that -- late that afternoon?


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0666
                                    (877) 479-2484
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   1    A.    Yes, at the hotel.

   2    Q.    Okay.    And what did you do after the -- you

   3   watched the parade?     What did you do next?

   4    A.    I think we were going to wait for the

   5   fireworks.    Is that what they're called?          I think

   6   so.

   7    Q.    And did you wait for the fireworks?

   8    A.    Yes.

   9    Q.    And how long did you wait for the fireworks?

  10    A.    I don't know, but I think they start around 9

  11   or 10 o'clock p.m.

  12    Q.    But did you wait at least an hour or so?

  13    A.    Yes.

  14    Q.    And did you -- did you wait in the same place

  15   where you were for the parade or did you go

  16   somewhere else and wait?

  17    A.    We waited and -- we went to a different place

  18   to wait.

  19    Q.    Where was that place?

  20    A.    I believe it’s right at the entryway to the

  21   park, right across from the Disneyland Hotel.

  22    Q.    And all of your family was there waiting to

  23   watch the fireworks, right?

  24    A.    Yes.

  25    Q.    And did you -- was there a place to sit?              Was


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0667
                                    (877) 479-2484
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   1    A.     Right.    When we entered the park, we went

   2   straight toward -- to the train.

   3    Q.     Okay.    And everything else you just described

   4   you did that day, you were together with Ms.

   5   and your two children, right?

   6    A.     Of course.

   7    Q.     Okay.    And did you actually watch the

   8   fireworks?

   9    A.     Yes.

  10    Q.     And what time do the fireworks get over, if

  11   you recall?

  12    A.     I believe they stop at 10 o'clock, when

  13   they're about to close the park down, because I

  14   believe that the other one for adults closes later

  15   than that.

  16    Q.     The other fireworks?

  17    A.     No, the other park.

  18    Q.     The other park.    So after the fireworks --

  19   you told me before you were going to go to the adult

  20   park.   Did anybody go to the adult park after the

  21   fireworks?

  22    A.     Yes.

  23    Q.     Who went to the adult park?

  24    A.     Gustavo, Alejandro, Jasmine, Abel.           I can't

  25   remember who else, but they needed to go and have


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0668
                                    (877) 479-2484
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   1    Q.    Okay.     And it’s actually a healthy thing for

   2   your son that he doesn't get everything he wants.

   3   You help him redirect so he knows that sometimes you

   4   have to be patient or he has to wait for something,

   5   correct?

   6    A.    Yes, of course.     He does know that.         He's

   7   learning that.

   8    Q.    Okay.     And he's made progress with this

   9   therapy, correct?

  10    A.    Yes, of course.

  11    Q.    So before, when he would get upset at any

  12   time something he wanted to do, he couldn't do, now

  13   he's learned not to get upset every time, right?

  14    A.    Yes.

  15    Q.    Okay.     And you've seen that yourself, right?

  16    A.    Yes, of course.

  17    Q.    And this therapy -- this therapy he's been

  18   having has been helpful, right?

  19    A.    Yes.

  20    Q.    In treating this condition he has?

  21    A.    Yes.

  22          MR. SCANLON:     Okay.   Can we just take a

  23   two-minute break?

  24          THE VIDEOGRAPHER:      Absolutely.       The time is

  25   11:35 and we are off the record.


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0669
                                    (877) 479-2484
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   1    Q.    So -- so would you -- you would agree --

   2   would you agree with that statement?

   3          MR. SCANLON:     Objection.

   4          THE WITNESS:     No.

   5   BY MR. FELDMAN:

   6    Q.    You don't think that your son exhibited rigid

   7   behavior?

   8          MR. SCANLON:     Asked and answered.         He just

   9   said no.

  10          THE WITNESS:     No.

  11   BY MR. FELDMAN:

  12    Q.    Okay.    On the first day in the park, did --

  13   how was it decided which rides to go on?

  14          MR. SCANLON:     Asked and answered.         Objection.

  15          THE WITNESS:     Yeah.

  16   BY MR. FELDMAN:

  17    Q.    How was it decided which rides to go on?

  18          MR. SCANLON:     That testimony has already been

  19   covered in my answers.

  20          THE WITNESS:     Yeah, I already did say that.

  21   BY MR. FELDMAN:

  22    Q.    Did you decide which rides                 would go

  23   on?

  24    A.    No; he did.

  25    Q.    Okay.    And how did he communicate which rides


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0670
                                    (877) 479-2484
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   1   US DISTRICT COURT OF CALIFORNIA
       CENTRAL DISTRICT
   2

   3                   REPORTER'S CERTIFICATE

   4          I, Angie Diner, CSR No. 9581, Certified

   5   Shorthand Reporter, certify:

   6         That the foregoing proceedings were taken

   7   before me at the time and place therein set forth,

   8   at which time the witness was put under oath by me;

   9         That the testimony of the witness, the

  10   questions propounded, and all objections and

  11   statements made at the time of the examination were

  12   recorded stenographically by me and were thereafter

  13   transcribed;

  14         That the foregoing is a true and correct

  15   transcript of my shorthand notes so taken.

  16         Further, that a review of the transcript by

  17   the deponent was not requested;

  18         I further certify that I am not a relative or

  19   employee of any attorney of the parties, nor

  20   financially interested in the action.

  21         I declare under penalty of perjury under the

  22   laws of ___________ that the foregoing is true and

  23   correct.

  24            Dated this 26th day of November, 2019

  25                _______________________________
                   Angie Diner, CSR No. 9581


                                  U.S. LEGAL SUPPORT                      Exhibit 1GG
                                             White Decl. ISO Disney's SJ Motion P.0671
                                    (877) 479-2484
